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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW MEXICO

                                                           §
CORY BONE and LUIS CARRILLO,                               §   Civil Action No. 2:20-cv-000697-RB-GJF
Individually and on behalf                                 §
of all others similarly situated,                          §
                                                           §   JURY TRIAL DEMANDED
                                                           §
                                                           §   COLLECTIVE ACTION
v.                                                         §   PURSUANT TO 29 U.S.C. § 216(b)
                                                           §
XTO ENERGY, INC.                                           §   CLASS ACTION
                                                           §   PURSUANT TO FED. R. CIV. P. 23
                                                           §

                             PLAINTIFFS’ MOTION TO TRANSFER
                          PURSUANT TO THIS COURT’S ORDER (Doc. 58)


     1.      SUMMARY

             Plaintiffs Cory Bone and Luis Carrillo, individually and on behalf of all others similarly

     situated, (“Plaintiffs”), file this Plaintiffs’ Motion to Transfer Pursuant to this Court’s Order (Doc.

     58). Plaintiffs brought this lawsuit alleging Defendant failed to pay them and other similarly situated

     workers in accordance with the Fair Labor Standards Act (FLSA). Doc. 1. On September 22, 2021,

     this Court entered its Memorandum Order and Opinion Granting in Part and Deferring in Part

     Defendant’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(B)(2) and Fed. R. Civ. P. 12(B)(6). Doc.

     58. The Order requires Plaintiffs to indicate whether they wish “this Court transfer the entire case to

     Delaware, where Defendant is incorporated and may be subject to general jurisdiction on all claims

     from the nationwide collective.” Id. at 8. The Plaintiffs file this Motion to inform the Court they wish

     to transfer this case to the United States District Court for the District of Delaware.

     2.      CONCLUSION

             Accordingly, pursuant to this Court’s Order, the Plaintiffs respectfully request this Court

     transfer this case to the United States District Court for the District of Delaware.
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                                              Respectfully submitted,

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                                              ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 6, 2021, I electronically filed the attached with the Clerk of

the Court using the ECF system which will send such filing to all attorneys of record.

                                                      /s/Andrew W. Dunlap
                                                      Andrew W. Dunlap



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